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4
     Attorney for Defendant
5    SHANNON ARMSTRONG

6
                             IN THE UNITED STATES DISTRICT COURT
7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,               )   Case No.: 2:15-CR-131 TLN
10                                           )
                          Plaintiff,         )   STIPULATION AND ORDER
11                                           )
     vs.                                     )   Date: March 28, 2019
12                                           )   Time: 9:30 a.m.
     SHANNON ARMSTRONG,                      )   Judge: Honorable Troy L. Nunley
13                                           )
                          Defendant.         )
14                                           )

15

16         Sentencing in this matter is presently set for March 28, 2019. Counsel

17   for the defendant requests only the deadline for submitting the sentencing

18   memorandum be continued to March 21, 2019.     Assistant United States Attorney

19   Samuel Wong has been advised of this request and has no objection.

20         The defense requests the Court adopt the following schedule

21   pertaining to the presentence report:
22            Judgment and Sentencing date:                          3/28/19
23
              Sentencing Memorandum:                                 3/21/19
24
              Reply, or Statement of Non-Opposition:                 n/a
25
              Motion for Correction of the Presentence
26            Report Shall be filed with the Court and
              served on the Probation Officer and
27            opposing counsel no later than:                        n/a
28            The Presentence Report shall be filed
              Case 2:15-cr-00131-TLN Document 436 Filed 03/19/19 Page 2 of 2


1              with the Court And disclosed to counsel
               no later than:                                            n/a
2
               Counsel’s written objections to the
3
               Presentence Report Shall be delivered
4
               to the probation officer and opposing
               Counsel no later than:                                    n/a
5
               The Presentence Report shall be filed
6              with the Court And disclosed to counsel
               no later than:                                            n/a
7

8
     Dated:   March 18, 2019                      /s/ John R. Manning
9                                                 JOHN R. MANNING
                                                  Attorney for Defendant
10                                                Shannon Armstrong
11
     Dated:   March 18, 2019                      McGregor W. Scott
12                                                United States Attorney
13                                                by:   /s/ Samuel Wong
                                                  SAMUEL WONG
14                                                Assistant United States Attorney
15                                        ORDER
16
          The Court, having received, read, and considered the stipulation of the
17
     parties, and good cause appearing therefrom, adopts the stipulation of the
18
     parties in its entirety as its order.
19

20
     IT IS SO FOUND AND ORDERED this 18th day of March, 2019.
21

22

23

24

25                                                Troy L. Nunley
26
                                                  United States District Judge

27

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